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 6

 7

 8                       UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10

11   Chosen Figure LLC,

12                        Plaintiff,                Case No:
13
            v.                                      COMPLAINT
14
     Kevin Frazier Productions, Inc.,               DEMAND FOR JURY TRIAL
15

16                       Defendant.
17

18         Plaintiff Chosen Figure LLC (“Plaintiff”), by and through its undersigned
19
     counsel, for its Complaint against Defendant Kevin Frazier Productions, Inc.
20

21   (“Defendant”) states and alleges as follows:
22                                     INTRODUCTION
23
           1.     This action seeks to recover damages for copyright infringement.
24

25         2.     Plaintiff herein creates photographic images and owns the rights to
26   these images which Plaintiff licenses for various uses including online and print
27

28

                                                    1
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 1   publications.
 2
           3.        Defendant    owns     and     operates   a   website       known   as
 3

 4   www.hiphollywood.com (the “Website”).

 5         4.     Defendant, without permission or authorization from Plaintiff
 6
     actively copied, stored, and/or displayed Plaintiff's Photograph on the Website
 7

 8   and engaged in this misconduct knowingly and in violation of the United States

 9   copyright laws.
10
                                           PARTIES
11

12         5.        Plaintiff Chosen Figure LLC maintains a principal place of business

13   in New York.
14
           6.        Upon information and belief, Defendant Kevin Frazier Productions,
15

16   Inc., is an individual who a California corporation with a principal place of
17   business at 10008 National Boulevard, Los Angeles in Los Angeles County,
18
     California and is liable and responsible to Plaintiff based on the facts herein
19

20   alleged.
21                               JURISDICTION AND VENUE
22
           7.        This Court has subject matter jurisdiction over the federal copyright
23

24   infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
25          8.       This Court has personal jurisdiction over Kevin Frazier Productions,
26
     Inc. because it maintains its principal place of business in California.
27

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 1          9.       Venue is proper under 28 U.S.C. §1391(a)(2) because Kevin Frazier
 2
     Productions, Inc. does business in this Judicial District and/or because a
 3

 4   substantial part of the events or omissions giving rise to the claim occurred in this

 5   Judicial District.
 6
                           FACTS COMMON TO ALL CLAIMS
 7

 8          10.      Plaintiff is a professional photographer by trade who is the legal and

 9   rightful owners of photographs which Plaintiff licenses to online and print
10
     publications.
11

12          11.      Plaintiff has invested significant time and money in building

13   Plaintiff's photograph portfolio.
14
           12.       Plaintiff has obtained active and valid copyright registrations from
15

16   the United States Copyright Office (the “USCO”) which cover many of Plaintiff's
17   photographs while many others are the subject of pending copyright applications.
18
           13.    Plaintiff's photographs are original, creative works in which
19

20   Plaintiff's own protectable copyright interests.
21         14.    The Website is a popular and lucrative commercial enterprise.
22
           15.    The Website is monetized in that it contains paid advertisements and,
23

24   upon information and belief, Defendant profits from these activities.
25         16.    On December 2, 2020 Plaintiff authored a photograph of Rhianna
26
     and A$AP Rocky in heavy jackets (the “Photograph”). A copy of the Photograph
27

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 1   is attached hereto as Exhibit 1.
 2
            17.   Plaintiff applied to the USCO to register the Photograph on or about
 3

 4   January 15, 2021 under Application No. 1-10076933345.

 5          18.   The Photograph was registered by the USCO on January 15, 2021
 6
     under Registration No. VA 2-233-243.
 7

 8          19.   On May 10, 2022 Plaintiff first observed the Photograph on the

 9   Website in a story dated December 3, 2020. A copy of the screengrab of the
10
     Website including the Photograph is attached hereto as Exhibit 2.
11

12          20.   The        Photograph        was        displayed        at      URL:

13   https://www.hiphollywood.com/2020/12/lil-uzi-vert-unfollows-crush-
14
     rihanna-because-shes-dating-aap-rocky/.
15

16          21. The          Photograph          was        stored        at       URL:
17   https://www.hiphollywood.com/wp-content/uploads/2020/12/0E6B77B6-
18
     7F3F-41E8-8A64-8DB49D039A22.jpeg.
19

20          22.   Without permission or authorization from Plaintiff, Defendant
21   volitionally selected, copied, stored and/or displayed Plaintiff copyright protected
22
     Photograph as is set forth in Exhibit “1” on the Website.
23

24         23.    Upon information and belief, the Photograph was copied, stored and
25   displayed without license or permission, thereby infringing on Plaintiff's
26
     copyrights (hereinafter the “Infringement”).
27

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                                                   4
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 1         24.    The Infringement includes a URL (“Uniform Resource Locator”) for
 2
     a fixed tangible medium of expression that was sufficiently permanent or stable
 3

 4   to permit it to be communicated for a period of more than a transitory duration

 5   and therefore constitutes a specific infringement. 17 U.S.C. §106(5); Perfect 10,
 6
     Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1160 (9th Cir. 2007).
 7

 8         25.    The Infringement contains a copy of the majority of Plaintiff's

 9   original image that was directly copied and stored by Defendant on the Website.
10
           26.    Upon information and belief, Defendant takes an active and
11

12   pervasive role in the content posted on its Website, including, but not limited to

13   copying, posting, selecting, commenting on and/or displaying images including
14
     but not limited to Plaintiff's Photograph.
15

16         27.    Upon information and belief, Defendant directly contributes to the
17   content posted on the Website by, inter alia, directly employing reporters, authors
18
     and editors as its agents, including but not limited to Jasmine Simpkins whose
19

20   LinkedIn page lists her as a “Senior Producer/Correspondent” (“Employees”).
21         28.    Upon information and belief, at all material times the Employees
22
     were acting within the course and scope of their employment when they posted
23

24   the Infringement.
25         29.    Upon information and belief, at all material times the Employees
26
     were acting within the course and scope of their agency when they posted the
27

28

                                                  5
                                       PLAINTIFF'S COMPLAINT
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 1   Infringement.
 2
           30.    Upon information and belief, the Photograph was willfully and
 3

 4   volitionally posted to the Website by Defendant.

 5         31.    Upon information and belief, Defendant is not registered with the
 6
     United States Copyright Office pursuant to 17 U.S.C. §512.
 7

 8         32.    Upon information and belief, Defendant engaged in the Infringement

 9   knowingly and in violation of applicable United States Copyright Laws.
10
           33.    Upon information and belief, Defendant has the legal right and
11

12   ability to control and limit the infringing activities on its Website and exercised

13   and/or had the right and ability to exercise such right.
14
           34.    Upon information and belief, Defendant monitors the content on its
15

16   Website.
17         35.    Upon information and belief, Defendant has received a financial
18
     benefit directly attributable to the Infringement.
19

20         36.    Upon information and belief, the Infringement increased traffic to
21   the Website and, in turn, caused Defendant to realize an increase in its advertising
22
     revenues.
23

24         37.    Upon information and belief, a large number of people have viewed
25   the unlawful copies of the Photograph on the Website.
26
           38.    Upon information and belief, Defendant at all times had the ability
27

28

                                                  6
                                       PLAINTIFF'S COMPLAINT
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 1   to stop the reproduction and display of Plaintiff's copyrighted material.
 2
           39.    Defendant's use of the Photograph, if widespread, would harm
 3

 4   Plaintiff's potential market for the Photograph.

 5         40.    As a result of Defendant's misconduct, Plaintiff has been
 6
     substantially harmed.
 7

 8                                  FIRST COUNT
                 (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
 9
10         41.    Plaintiff repeats and incorporates by reference the allegations

11   contained in the preceding paragraphs, as though set forth in full herein.
12
           42.    The Photograph is an original, creative work in which Plaintiff owns
13

14   valid copyright properly registered with the United States Copyright Office.
15         43.    Plaintiff has not licensed Defendant the right to use the Photograph
16
     in any manner, nor has Plaintiff assigned any of its exclusive rights in the
17

18   copyrights to Defendant.
19         44.    Without permission or authorization from Plaintiff and in willful
20
     violation of Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and
21

22   illegally copied, stored, reproduced, distributed, adapted, and/or publicly
23   displayed works copyrighted by Plaintiff thereby violating one of Plaintiff's
24
     exclusive rights in its copyrights.
25

26         45.    Defendant's reproduction of the Photograph and display of the
27
     Photograph constitutes willful copyright infringement. Feist Publications, Inc. v.
28

                                                      7
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 1   Rural Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).
 2
           46.    Plaintiff is informed and believes and thereon alleges that the
 3

 4   Defendant willfully infringed upon Plaintiff's copyrighted Photograph in violation

 5   of Title 17 of the U.S. Code, in that they used, published, communicated, posted,
 6
     publicized, and otherwise held out to the public for commercial benefit, the
 7

 8   original and unique Photograph of the Plaintiff without Plaintiff's consent or

 9   authority, by using it in the infringing article on the Website.
10
           47.    As a result of Defendant's violations of Title 17 of the U.S. Code,
11

12   Plaintiff is entitled to an award of actual damages and disgorgement of all of

13   Defendant's profits attributable to the infringement as provided by 17 U.S.C. §
14
     504 in an amount to be proven or, in the alternative, at Plaintiff's election, an
15

16   award for statutory damages against Defendant for the infringement pursuant to
17   17 U.S.C. § 504(c).
18
           48.    As a result of the Defendant's violations of Title 17 of the U.S. Code,
19

20   the court in its discretion may allow the recovery of full costs as well as reasonable
21   attorney's fees and costs pursuant to 17 U.S.C. § 505 from Defendant.
22
           49.    As a result of Defendant's violations of Title 17 of the U.S. Code,
23

24   Plaintiff is entitled to injunctive relief to prevent or restrain infringement of his
25   copyright pursuant to 17 U.S.C. § 502.
26

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                                                   8
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 1                                  JURY DEMAND
 2
           50.   Plaintiff hereby demands a trial of this action by jury.
 3

 4                              PRAYER FOR RELIEF

 5         WHEREFORE Plaintiff respectfully requests judgment as follows:
 6
           That the Court enters a judgment finding that Defendant has infringed upon
 7

 8   Plaintiff's rights to the Photograph in violation of 17 U.S.C. §501 et seq. and

 9   award damages and monetary relief as follows:
10
                 a.    finding that Defendant infringed upon Plaintiff's copyright
11

12                     interest in the Photograph by copying and displaying without

13                     a license or consent;
14
                 b.    for an award of actual damages and disgorgement of all of
15

16                     Defendant's profits attributable to the infringement as
17                     provided by 17 U.S.C. § 504 in an amount to be proven or, in
18
                       the alternative, at Plaintiff's election, an award for statutory
19

20                     damages against Defendant for the infringement pursuant to
21                     17 U.S.C. § 504(c), whichever is larger;
22
                 c.    for an order pursuant to 17 U.S.C. § 502(a) enjoining
23

24                     Defendant from any infringing use of any of Plaintiff's works;
25               d.    for costs of litigation and reasonable attorney's fees against
26
                       Defendant pursuant to 17 U.S.C. § 505;
27

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                                                 9
                                      PLAINTIFF'S COMPLAINT
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 1             e.    for pre judgment interest as permitted by law; and
 2
               f.    for any other relief the Court deems just and proper.
 3

 4   DATED: September 13, 2022

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